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Attorneys for Plaintiff and the Putative Class

                             UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF IDAHO

 GLORIA MITCHELL, individually and on
 behalf of all others similarly situated,

                         Plaintiff,                 Case No. 1:16-cv-00076-BLW

 v.                                                 MOTION TO RECONSIDER
                                                    MEMORANDUM DECISION AND
 WINCO FOODS, LLC, a Delaware limited               ORDER OF MARCH 7, 2017
 liability company,                                 DISMISSING THE CASE

                         Defendant.

       Plaintiff Gloria Mitchell, pursuant to Federal Rule of Civil Procedure 59(e), respectfully

moves this Court to reconsider its March 7, 2017 Memorandum Decision & Order granting

Defendant’s Motion to Dismiss (Dkt. 28). The basis of the Motion is the recent Ninth Circuit

case of Syed v. M-I, LLC, 846 F.3d 1034 (9th Cir. 2017), which found that plaintiffs who allege

FCRA Section 1681b(b)(2) disclosure claims have sufficiently alleged a concrete and

particularized injury.
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       This Motion is supported by the concurrently-filed Memorandum of Points and

Authorities.


                 *             *              *              *               *



                                   Respectfully Submitted,

Dated: March 10, 2017              GLORIA MITCHELL, individually,
                                   and on behalf of all others similarly situated,



                                   By:   /s/ Patrick H. Peluso

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                                 CERTIFICATE OF SERVICE

       I am a resident of the State of Colorado, over the age of eighteen years old, and am not a

party to this lawsuit. My business address is 3900 E. Mexico Avenue, Suite 300, Denver,

Colorado 80210. I HEREBY CERTIFY that on the 10th day of March 2017, I filed the foregoing

MOTION TO RECONSIDER MEMORANDUM DECISION AND ORDER OF MARCH

7, 2017 DISMISSING THE CASE electronically through the CM/ECF system, which caused

the following parties or counsel to be served by electronic means, as more fully reflected on the

Notice of Electronic Filing:

                    Rick D. Roskelley, Attorney for Defendant WinCo Foods, LLC.

                        Mr. Roskelley’s email address is rroskelley@littler.com.

       I declare that the foregoing is true and correct.



                                                      /s/ Patrick H. Peluso




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